Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 1 of 22 PageID #: 41




                      EXHIBIT A
      Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 2 of 22 PageID #: 42




                                                                                                                         S1C / ALL
                                                                                                     Transmittal Number: 23756405
Notice of Service of Process                                                                            Date Processed: 09/13/2021

Primary Contact:           WF West - WF Bank
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Wells Fargo & Company
                                              Entity ID Number 1915501
Entity Served:                                Wells Fargo & Company
Title of Action:                              Bahram Maskanian vs. Wells Fargo & Company
Matter Name/ID:                               Bahram Maskanian vs. Wells Fargo & Company (11554598)
Document(s) Type:                             Complaint
Nature of Action:                             Contract
Court/Agency:                                 Kings County Supreme Court, NY
Case/Reference No:                            351/2021
Jurisdiction Served:                          California
Date Served on CSC:                           09/07/2021
Answer or Appearance Due:                     Other/NA
Originally Served On:                         WF&C
How Served:                                   Client Direct
Sender Information:                           Bahram Maskanian
                                              917-300-4731
Client Requested Information:                 Matter Management User Groups: [Service of Process]
                                              Routing Rules (CSC): R1663
                                              Classification: Standard

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
          Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 3 of 22 PageID #: 43




                               WELLS FARGO CLIENT DIRECT — SAN ANTONIO, TX
                                                WELLS FARGO BANK
                                                4101 WISEMAN BLVD BLDG 108
                                                SAN ANTONIO, TX 78251-4200
                                                                     MAC: T7408-013

                                                BATCH COVER SHEET

                               For use only when overnighting multiple services


                               DATE SERVED:                      ~        Q ~— d u    .'L t
                                                  TO: Service of Process / Corporation Service Company -

                                  OVERNIGHT: Corporation Service Company
                                             Attn: Brenda Coy / Wells Fargo
                                             1201 Hays Street
                                             Tallahassee, FL 32301-2699
                                                           800-927-9801, Ext. 62918
                                                           brenda.coy@cscglobal.com

                                             FROM: _          Jerry Arispe
                                                              Fernando Escobedo
                                                           _ I~Iaria Minor
                                                           _ ✓Joann Esquivel


                      SENDER PHONE NO.:

                             STATE SERVED: Per document



                                                             o       lq
                       COMMENTS/NOTES:                                     — y


Please read this section: The date on this cover sheet is the date that the Wells Fargo EIS Customer Support team received this
service. CSC has a mandatory date served field and this date will be entered as we may not have the actual date served.

If a Wells Fargo enterprise mailroom receives an envelope that does not include a team members name, mac code, or the team
has been displaced, the mail is sent to the EIS Customer Support team to open the envelope, review the document and route.
When the mail is received at the many locations, the date received may or may not be added. The SOP team requested that all
legal mail from the EIS Customer Support team be sent to CSC to upload to CSC Navigator/Matter Management and route.
This facsimile contains information which (a) may be LEGALLY PRIVILEGED, PROPRIETARY IN NATURE, OR OTHERWISE
                                                                                                                               PROTECTED BY LAW FROM
DISCLOSURE, and (b) is intended only for the use of the Addressee(s). If you are not the Addressee, or the person responsible
                                                                                                                                   for delivering this to the
Addressee(s), you are hereby notified that reading, copying or distributing this facsimile is prohibited. If you have received
                                                                                                                               this facsimile in error, please
email us so we may provide you with a mailing address to send the document back to us.

#16879018-v2                                                              07/31/2019
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                          (




Supreme Court of the State of New York — County of Kings
---------------------------------------------------------
Bahram Maskanian
                                                     Plaintiff(s),         Index No: 351 / 2021

                                   -against-                         August 24, 2021        COMPLAINT

Wells Fargo & Company                                                      Defendant(s).



The compliant of the plaintiff, Bahram Maskanian, respectfully shows and alleges as follows:


1— The plaintiff herein, Bahram Maskanian, is a resident of the State of New York. Mr. Maskanian
resides at 6102 5t'' Ave. # 205390 - Brooklyn, NY 11220


2— The defendant herein, Wells Fargo & Company, in banking business for over 120 years, at: 1300 3ra
Avenue, New York, NY, 10021. Defendant is engaged in the business of money, banking and finance.
Operating over 12,000 ATMs and approximately 4,900 retail banking branches coast to coast. As of
August 31, 2021 Wells Fargo & Company net worth is $365.6 Billion Dollars -(WFC) Stock Price
of $49,81.


3— Plaintiff's substantiated claim proves Wells Fargo's relentless efforts in defrauding and robing their
customers. "Dodd-Frank Act of 2010" states that it is unlawful for any provider of consumer financial
products and services to engage in any deceptive, fraudulent, or abusive act of business practice. Thou
Shalt Not Steal. 18 U.S. Code CHAPTER 31- EMBEZZLEMENT AND THEFT - 18 U.S. Code § 656
- Theft, embezzlement, or misapplication by bank officer, or employee.


4— On May 5`h plaintiff checked his Wells Fargo's VISA account online to see if an unsubscribed news
outlet has charged his account. Plaintiff discovers what he thought at first a miscalculation on his
03/29/2021 to 04/27/2021 - VISA statement ending in 3157. Plaintiff calls Wells Fargo's customer
service, or bankers on four separate occasions on May 5`h and talk with four bankers, none of them
would listen to simple logic and math, as plaintiff tried to explain the overcharging. The fourth one got
so pissed off at plaintiff for disputing her fictional feud, she hung up on plaintiff. Surprisingly every
single one of them kept on repeating the very same imaginary, nonsense, scripted narrative.

            Wells Fargo & Company — Trickery, Fraud & Deceitful Banking Model — Index No. 351 / 2021    1
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5— Plaintiff began to look for different ways of reporting the grand larceny of overcharging, using'
Wells Fargo's online messaging center, plus an email he found on their website. No matter what and
how the plaintiff illustrated the problem, he continue getting emails back, saying the same, each of
them containing different case number. On May 09, 2021, plaintiff received his paper bill in the mail.
He did the math correctly, paid his bill in full, minus the fraudulent overcharging $259.90, and mailed a
check for $847.80, attached to one page letter, including the calculation below, on May 10, 2021.


       03/30 03/30 24071052SVAN4KBZQ EXTRA SPACE 0727 718-7484499 NY                                  $259.90 +
       04/02 04/02 24906412W3DVFEATM EIG*Hostgator.com 713-5745287 MA                                 $538.20
       04/02 04/02 24906412W3DVFEYBQ EIG*Hostgator.com 713-5745287 MA                                 $538.20
       04/05 04/05 24906412Z3E11H9T2 EIG*Hostgator.com 713-5745287 MA                                 $175.14
       04/11 04/11 2469216352X9W8RB3 MAGICJACK.COM 561-594-9925 FL                                     $14.08
       04/15 04/15 2490641393ERFNGZ8 EIG*Hostgator.com 713-5745287 MA                                 $175.14
       04/19 04/19 24071053EVAKJDJK6 EXTRA SPACE 0727 BROOKLYN NY                                     $215.55
       04/26 04/26. 24492153LMNF8H809 THE EPOCH TIMES 917-905-2080 NY                                   $7.99

                              Total Purchases & Other Charges For This Period                         $1,924.20 -
                                                                    Total Credits                     $1,076.40
                        The $259.90 double charge is hidden in the "New Balance"                      $1,107.70
                                                           New Correct Balance                        $847.80 =

6— Plaintiff received his Wells Fargo VISA in August of 2020, using it once, or twice a month until
Apri12021, when for the first time he had 7 purchases, plus $259.90 previous balance. Plaintiff notices
that Wells Fargo & Company hide the overcharge within the "New Balance". If the customer does not
check the math they would probably never know. Plaintiff is almost certain that he is not the only
victim of Wells Fargo's nationwide grand larceny operation and there must be many others.


7— Few days later the 11" banker "Christina S- phone:                   -4748 - Ext. 5826463" left plaintiff a
voicemail saying that she has received plaintiff's letter, which was attached to his payment. Plaintiff
calls and speak with her on May 24, 2021, after another long, frustrating back and forth, Christina was
just the same as other bankers, insisting snow is red. Nothing changed.


8— Out of total desperation plaintiff begin to call different departments of Wells Fargo & Company
trying to obtain direct phone numbers and or emails of upper management to contact and state his case.
Plaintiff finds few executive's emails: CEO Charles Scharf <charles.scharf@wellsfargo.com> -
BoardCommunications@wellsfargo.com - Socialcare@wellsfargo.com - Mark Elliott
           Wells Fargo & Company — Trickery, Fraud & Deceitful Banking Model — Index No. 351 / 2021           2
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<Mark.W.Elliott@wellsfargo.com> - Mary T Mack <mary.mack@wellsfargo.com> and John R
Shrewsberry <john.shrewsberry@wellsfargo.com> - On May 31, 2021 plaintiff writes an email about
his frustrating and disappointing experience to the CEO and carbon copy the rest of them. The next
day he receive an email from 12' banker, containing yet another case number: 06202106013468358.


9— On Thursday June 03, 2021, plaintiff calls (Exec Office Case Specialist - Enterprise Complaints
Management Office) at Wells Fargo & Company to speak with the 12" banker Aaron Ramirez - Phone:
515-461-4135. Aaron Ramirez informs plaintiff that Wells Fargo's CEO office referred plaintiff's case
to him. Aaron Ramirez was just as a pickpocket as the rest of them. For an hour, he tries to deceive
and distract plaintiff; using the most idiotic excuses plaintiff has ever heard, to legitimize Wells Fargo's
blatant robbery attempt as legitimate transaction. Completely disregarding Wells Fargo & Company's
own current statement reflecting all transactions, that if he were to subtract Total Credits of $1,076.40,
from Total Purchases of $1,924.20, he would get $847.80, which is the correct amount plaintiff owed,
and already paid. Yet another frustrating and stressful encounter with Wells Fargo & Company.


10 — The title: "Exec Office Case Specialist - Enterprise Complaints Management Office"; says it all.
It is no coincidence, this is done deliberately to impress and intimidate the customer at the same time.
So when the customer already feeling important and yet intimidated calls: "Exec Office Case Specialist
- Enterprise"; the fancy title begin to do its magic, as soon as the Wells Fargo's purse-snatchers begin to
convince the ignorant ciistomer that she, or he is wrong, and the bogus overcharge is legitimate, by
making up some convoluted, absurd argument, thus the customer would not dare to question it.


11 — Wells Fargo's behavior and blatant refusal to remove the overcharge made plaintiff certain, that
Wells Fargo's staff are involved in a systemic and deliberate accounting fraud perpetrated on their
customers. Millions of people who carry previous balance on their credit card statement would never
check the math, assuming the bank has a calculator and sense of morality, thus would do their job
accurately and honestly. " Seems obvious Wells Fargo & Company knowingly and willfully utilizing
fraudulent accounting to rob billions of dollars from hard working, innocent folks and families.


12 — As of today: August 31, 2021, Wells Fargo & Company continues to intimidate the plaintiff using
outrageous late fees and interest charges, still insisting on their fraudulent overcharging and refuse to
correct plaintiff's account, and apologize for the pain and frustration they are causing. - Makes no sense
           Wells Fargo & Company — Trickery, Fraud & Deceitful Banking Model — Index No. 351 / 2021
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to punish victims of economic and political downfall, for not having the bank's dictated minimum
balance in their account, and or mailing payments a couple of days late, and instead of a helping hand,
kick them in the teeth and charge them usury interest rate and late fees, takeaway the little money they
have left, for not being rich enough, plaintiff wondered.


13 — Plaintiff has saved screenshots, account statements, all email communications to the CEO and
board of directors of Wells Fargo & Company, plus the emails he received from Wells Fargo's gang of
bandit bankers, all painting a clear picture of what is truly going on. The evidences clearly. suggests
widespread fraudulent behavior, Wells Fargo & Company swindling their customers knowingly and
willingly. Plaintiff has enough evidence to prove it.


14 — Wells Fargo's robbery attempt forcing the plaintiff to call their "Exec Office Case Specialist -
Enterprise" bandit bankers and go through so many frustrating and painful quarrels, so many times,
while trying to protect his credit, money and defend himself, and to set the record straight, to no avail,
did not help plaintiff's vulnerable health condition.


15 — On February 14, 2020, plaintiff was a victim of an accident he did not cause. A heavy object fell
from above, on top of his head at work, causing brain injury. Plaintiff had MRI done, he was examined
by nine (9) specialist doctors; concluding diagnostics of: Head Injury, Post-Concussion Syndrome and
Cognitive Deficits. Currently plaintiff is suffering from awful headaches, visual disturbances, constant
irritating hissing noises in his head, loss of inemory and income. (Plaintiffs workers compensation
case is pending) To keep calm and avoid worsening his symptoms caused by verbal confrontation and
stress, plaintiff prefers to communicate in writing, mostly by email. Wells Fargo & Company's nerve-
wracking unjust fees, and treatment has caused unwanted stress, worsening his health condition.


16 — As the result of the accident plaintiff has been disabled and unemployed since the time of the
accident at the age of 67 in February 14, 2020. As an injured, disabled worker plaintiff is not eligible
for any kind of government stimulus program or unemployment insurance. Plaintiff's living expenses,
food, cost of his herbal medicine, rent, etc., had left him deep in debt with friends and family.


17 — After many sleepless miserable nights, out of total desperation plaintiff's search in finding a
solution leads him to United States Attorney's Office Southern District of New York Civilian Crime
           Wells Fargo & Company — Trickery, Fraud & Deceitful Banking Model — Index No. 351 / 2021    4
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Reports Unit (Criminal Division) C)ne St. Andrew's Plaza New York, NY 10007. Plaintiff calls and an
ernployee of'tlie oftice directs plaintiffto dowiiload the "Civilian Crime Report", fill it out and rnail it
with all of the evidences in hand to tJ.S. Attorney's Of:fice. It was inailed on June 21, 2021. A copy
along with other related exhibits as-e attached to this cotnplaint.


1 K— Plaintiff herein, respectfiilly requests public jur-y trial, to bring his case to the court and the jury for
consideration, in order to publicize Wells .Fargo & Company's crime and obtain judgment against the
defendant, thus compelling tLells Fargo & CotTlpany to stop; and notlfy all other vlctims of thelr cririle.
Defendant should also be cc>mpelled to pay ten miltion, two hundred and fifty nine dollars and ninety
cents ($10,000,259.90) to plaintiff in relief for damages, pain and sutl:erinl; defendant's blatant robbery
                                                                               ..... , _t .
attempt had caused, in addit.ion to withdrawina all of- the damaoing falsified reports injuring plaintifJ"s
credit and reputation.




                                                                                                    being duly sworn, deposes and
says: l. am the plaintiff in the above-entitled action. I have written and read the foregoing and know the
contents therec>F rl'lie same are true to ziiy knowl.edge, including a11 allel;ations therein. stated to be true,
based on factual evidences, information, eYliibits and as to those matters I beli ~:• thern to be true.
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                                                                   Print Name
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Sworn to before me this

   _ day of ~                                               2021
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                                                                            ~:s~C•;mnt.c:-::`'Y .        ,

Notary Public



                  Wells Fargo & Company — Trickery, Fraud & Deceitful Banking Model — Index No. 351 / 2021
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                                                                                                              United States Attorney's Office
                                                                                                 l                 Southem Drstrict ofNew Yotk
                                                                                                                     Civllian Crime Repots Unrt
                                                                                                                               Crimrnal Di vision
                                                         Civilian Crime Report
The U.S. Attorney's Office represents the Government in legal proceedings and works closely with investigative agencies including
the FBI. The Criminal Division of the United States Attorney's Office is responsible for enforcing the federal criminal laws within
the Southern District of New York, which encompasses the boroughs of Manhattan and the Bronx, as well as Dutchess, Orange,
Putnam, Rockland, Sullivan, and Westchester Counties.
         WE CANNOT CONSIDER INFORMATION SUBMITTED BY E-MAIL OR LEFT ON VOICEMAIL
         Person Completing This Report:  Person/Entity Being Reported:
          Bahram (Vlaskanian                                          Wells Fargo & Company
         Your Name                                                   Name of Person Being Reported
          Bahram Maskanian                                            Wells Fargo VISA
         Address                                                     Address
         6102 5th Ave, # 205390                                       420 Montgomery Street
         Address (Line 2)                                            Address (Line 2)
                                            11220                                                       94104
         City, State                       Zip                       City, State                        Zip
         Brooklyn, NY (917) 300-4731                                  San Francisco, CA         (844) 819-4748
         County                   Phone                              County                     Phone

Although the volume of information we receive from concerned members of the public prevents us from responding
individually to every Report, be assured that we will carefully consider the information you have provided us to determine
whether there is a matter for this Office to investigate. Should we determine that your Report raises a matter within the
jurisdiction of this Office to investigate and that further information from you is necessary for our investigation, you will be
contacted. This Office does not resolve individual consumer complaints.
                                        NOTE FOR INTERNATIONAL SUBMISSIONS
We review for any appropriate action all submissions we receive. However, to avoid interference with the sovereignty of
foreign nations, we do not respond to or acknowledge submissions from mailing addresses outside of the United States.

 Does this Report Pertain to an Ongoing Case?                                           ~
                                                                   ~~Yes                ~✓;No            =Not Sure
 If Yes, Please Provide the Following Case Information:
 Case Title and Docket Number (if known):




Please clearly describe the violation of federal criminal laws that you would like to bring to our attention. Include as much information as
possible; including the dates, places and nature of incident, and contact informati.on for any witnesses (do not send original documents):
On May 5th, 2021 when I checked my Wells Fargo VISA account, I discovered a deliberate double charge
on my 03/29/2021 to 04/27/2021 card statement ending in 3157. Ever since I have been complaining
 via email and phone to no avail. I am now convinced the double charging is systematic and widespread.
I have accumulate more than enough evidence to prove it. - Please see the attached 4 page documents.
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Are You a Victim of this Alleged Crime?                            Are You Aware of Any Other Victim(s)?
                                                                   ~ ~.
                                                                                    _
~✓ 'Yes      I. TNo      1~~:ot Sure                               ~       Yes   ,_No          ✓ Not sure
If Yes, Please List Other Victim(s): Seems they are double charging many other customers as well

Are You Represented by an Attorney in this Matter?                 L=Yes                ZNo
If Yes, Please Provide Attomey Contact Info:
Name:                                                                            Phone:
Address:
                                                                           ~
Have You Filed a Lawsuit Concerning this Matter?                           Yes          ✓_No
If Yes, Please Provide the Following Case Information:

Case Title and Docket Number:

Name and Address of Court:

Status of Court Case (pending, dismissed, settled):

Have You Previously Filed a Report about this Matter with this Office or Any Other Federal, State or Local Agency(s)?
EYes ~No                       If Yes, Date Filed:
Contact Person:                                                    Agency:
Status of Previous Report:
By submitting this form you certify that all of the statements made in this report (including continuation pages and
addendum) are tru ompl e, and c rect~~ e best of your knowledge. You understand that a false statement of a
material fact is a, `~ inal ense (1 /.S.C. ~ection 1001).

Signature:                                                                       Da~. 06/21 /21


                 IMPORTANT NOTE REGARDING THE PRESERVATION OF YOUR LEGAL RIGHTS:
Submitting a Report to this Office has no effect on any statute of limitation that might apply to any claim you may have. By
submitting a Report to this Office, you have not commenced a lawsuit or other legal proceeding, and this Office has not
initiated an investigation or lawsuit regarding the subject of your Report. If you seek to sue for money or other relief, you
should contact a private attorney to represent you in court.


Mail this completed report to:                        United States Attorney's Office
                                                      Southern District of New York
                                                      Attn: Civilian Crime Reports Unit (Criminal Division)
                                                      One St. Andrew's Plaza
                                                      New York, NY 10007




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Case
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     1:21-cv-05361-KAM-RML
            f     ~
                           Document 1-2 Filed 09/27/21 Page 11 of 22 PageID #: 51

          WELLS FARGO CASH WISE VISA SIGNATURE® CARD                                                                                                                      ®

                                             Account Number                                  Ending in 3157                                                     .                 •
          vIS 'A
           Slgnature                         Statement Billing Period                        03/29/2021 to 04/27/2021
                                             Page 1 of 2
          Balance Summary
              Previous Balance                                                               24-HourCustomer Service:                     1-866-229-6633
                                                                                $259.90
          - Payments                                                                         We accept all relay calls, including 711
                                                                                    $0.00
                                                                                             Outside the US Call Collect:                 1-925-825-7600
         - Other Credits                                                      $1,076.40
                                                                                             yyells Fargo Online:                         wellsfargo.com
         + Cash Advances                                                          $0.00
         + Purchases, Balance Transfers &                                     $1,924.20
           Other Charges                                                                     Send General Inquiries To:
         + Fees Charged                                          "                  $0.00    PO Box 10347, Des Moines IA, 50306-0347
         + Interest Charged                                                         $0.00
         = New Balance                                                       $1,107.70
         Revolving Line Of Credit        ,                                         $5,000    Available Revolving Line Of Credit                                               $3,892

          Payment Information
         New Balance                                                         $1,107.70       Send Payments To:
         Minimum Payment                                                                     PO Box 77053, Minneapolis MN, 55480-7753
                                                                                $25.00
         Payment Due Date                                                   05/22/2021
              Late Payment Warning: If we do not receive your Minimum Payment by 05/22/2021, you may have to pay a late fee up to $37.
              Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
              balance. For example:
                   If you make no additional charges using               You will pay off the New Balance shown on                   And you will end up paying an
                      this card and each month you pay ...                        this statement in about ...                             estimated total of ...
                            Only the minimum payment                                         5 years                                             $1,531
                                                                                                                                                  $1,307
                                       $36                                                   3 years
                                                                                                                                            (Savings of $224)
                11 you wouIa nKe mrormallon aooul creaQ counselmg services, reter to
                www.justice.gov/usUlist-credit-counseling-agencies-approved-pursuant-ll-usc-111 or call 1-866-484-6322.


         Go Far Rewards Summary
         Rewards balance as of:                                                             03/31/2021                      $34.52

                                                 The rewards balance is for Rewards ID 60017294587.
          This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
                                 earn and redeem your rewards, visit GoFarRewards.wf.com or call 1-877-517-1358.

         Transactions
          Trans     Post         Reference Number                    Description                                                                       Credits             Charges

         Other Credits
         04/05      04/05        74906412Z3EtOGA9N                   EIG'Hostgator.com      713-5745287 MA                                             538.20
         04/05      04/05        74906412Z3E11AK2P                   EIG'Hostgator.com      713-5745287 MA                                             538.20
                    TOTAL OTHER CREDITS FOR THIS PERIOD                                                                                             $1,076.40

         Purchases, Balance Transfers & Other Charges
         03/30      03/30        24071052SVAN4KBZQ                   EXTRA SPACE 0727         718-7484499 NY                                                                  259.90
         04/02      04/02        24906412W3DVFEATM                   EIG'Hostgator.com      713-5745287 MA                                                                    538.20
         04/02      04/02        24906412W3DVFEYBQ                   EIG'Hostgator.com      713-5745287 MA                                                                    538.20
         04/05      04/05        24906412Z3E11H9T2                   EIG'Hostgator.com      713-5745287 MA                                                                    175.14
         04/11      04/11        2469216352X9W8RB3                   MAGICJACK.COM            561-594-9925 FL                                                                  14.08
         04/15      04/15        2490641393ERFNGZ8                   EIG'Hostgator.com      713-5745287 MA                                                                    175.14
         04/19      04/19        24071053EVAKJDJK6                   EXTRA SPACE 0727 BROOKLYN NY                                                                             215.55
         04/26      04/26        24492153LMNF8H809                   THE EPOCH TIMES          917-905-2080 NY                                                                   7.99
                    TOTAL PURCHASES, BALANCE TRANSFERS & OTHER CHARGES FOR THIS PERIOD                                                                                    $1,924.20




                                        NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                        Continued         y
         5596           YRG        1     ]     19   210427   D             PAGE 1 of 2        1 0 ]5J1     8000    CU65   O1DP5596

   I     Detach and mail with check payable to Wells Fargo. For faster processing, include your account number on your check.                                                              _
                                                                                                                  Account Number                                               3157
                                                                                                                  New Balance                                             $1,107.70
                                                                                                                  Minimum Payment                                             $25.00
                                                                                                       .          Payment Due Date                              .     05/22/2021




                                                                                         31579                Amount
                                                                                                             Enclosed



                BAHRAM MASKANIAN
                6102 5TH AVE UNIT 205390
                BROOKLYN NY 11220-4610                                                                              WELLS FARGO CARD SERVICES                       YKG
                                                                                                                    PO BOX 77053                                    510
                                                                                                                    MINNEAPOLIS MN 55480-7753



       ~'~~     Check here and see reverse for address and/or phone number corfection.
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         WELLS FARGO CASH WISE VISA SIGNATURE® CARD                                                                                                                ®

                                           Account Number                                Ending in 3157                                                                      ,
         vISA
                                           Statement Billing Period                      04/28/2021 to 05/28/2021
          Slgnature
                                           Page 1 of 4
         Balance Summary
           PreviousBalance                                                                24-Hour Customer Service:                   1-866-229-6633
                                                                         $1,107.70
         - Payments                                                                       We accept all relay calls, including 711
                                                                           $847 80
                                                                                          Outside the US Call Collect:                1-925-825-7600
         - Other Credits                                                       .
                                                                             $7 99        Wells Fargo Online":                        wellsfargo.com                     .
         + Cash Advances                                                     $0.00
         + Purchases, Balance Transfers &                                    $0.00
           Other Charges                                                                  Send General Inquiries To:
         + Fees Charged                                                      $0.00        PO Box 10347, Des Moines IA, 50306-0347
         + Interest Charged                                                  S0.00
         = New Balance                                                     $251.91
         Revolving Line Of Credit                                              $5,000     Available Revolving Line Of Credit                                           $4,748

         Payment Information
         New Balance                                                       $251 91       Send Payments To:
                                                                                         PO Box 77053, Minneapolis MN, 55480-7753
         Minimum Payment                                                    $25.00
         Payment Due Date                                               06/22/2021
              Late Payment Warning: If we do not receive your Minimum Payment by 06/22/2021, you may have to pay a late fee up to $37.
              Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
              balance. For examole:
                   If you make no additional charges using           You will pay off the New Balance shown on                   And you will end up paying an
                      this card and each month you pay ...                    this statement in about ...                             estimated total of ..._

                             Only the minimum payment                                   10 month(s)                                           $247
                 If you wouIo l[Ke imormalion aoout creait counseiing serwces, reter to
                 www.justice.gov/usUlist-credit-counseling-agencies-approved-pursuant-ll-usc-111 orcalll-866-484-6322.


         Important Information
                                                             PAYMENT OF AMOUNT IN DISPUTE $7.99 NOT REQUIRED.

         Go Far Rewards Summary
         Rewards balance as of:                                                         04/30/2021                      $47.24

                                                 The rewards balance is for Rewards ID 600172945B7.
          This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
                                 earn and redeem your rewards, visit GoFarRewards.wf.com or call 1-877-517-1358.

         Transactions
         Trans      Post          Reterence Number               Description                                                                     Credits           Charges

         Payments
         05/14      0_5/14        74147184626RZENTN              PAYMENT THANK YOU                                                                847.80
                    TOTAL PAYMENTS FOR THIS PERIOD                                                                                               $847.80

         Other Credits
         05/11      05/11         F35310043000GB841              ADJUSTMENT-PURCHASES                                                                7.99

                    TOTAL OTHER CREDITS FOR THIS PERIOD                                                                                              $7.99

         Fees Charged
                    TOTAL FEES CHARGED FOR THIS PERIOD                                                                                                                 $0.00




                                          NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                               Continued          y
         5596           YKG           3    7   19   210528   0        PAGE 1 af 4          10   3531   8000    C065   O1DP5596


   I     Detach and mail with check payable to Wells Fargo. For faster processing, include your account number on your check.                                                        _
                                                                                                              Account Number                                          3157
                                                                                                              New Balance                                          $251.91
                                                                                                              Minimum Payment                                       $25.00
                                                                                                              Payment Due Date                                   06/22/2021




                                                                                    31577                 Amount
                                                                                                         Enclosed



                BAHRAM MASKANIAN
                205390
                6102 5TH AVE                                                                                    WELLS FARGO CARD SERVICES                    YKG
                BROOKLYN NY 11220-4610                                                                          PO BOX 77053                                 510
                                                                                                                MINNEAPOLIS MN 55480-7753



       .1~~     Check here and see reverse for address and/or phone number correction.
Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 13 of 22 PageID #: 53

           WELLS FARGO CASH WISE VISA SIGNATURE® CARD                                                                                                               ®

        vIS'A
         Slgnature
                                          Account Number
                                          Statement Billing Period
                                                                                         Ending in 3157
                                                                                         05/29/2021 to 06/27/2021
                                                                                                                                                                            •

                                          Page 1 of 4
        Balance Summary
          Previous Balance                                                  $251.91      24-Hour Customer Service:                       1-866-229-6633
        - Payments                                                                       We accept all relay calls, including 711
                                                                              $0.00
                                                                                         Outside the US Call Collect:                    1-925-825-7600
        - Other Credits                                                       $O 00
                                                                                         Wells Fargo Online":                            wellsfargo.com
        + Cash Advances                                                       $0.00
        + Purchases, Balance Transfers &                                    $186.59
          Other Charges                                                                  Send General Inquiries To:
        + Fees Charged                                                       $25.00      PO Box 10347, Des Moines IA, 50306-0347
        + Interest Charged                                                    S0.00
        = New Balance                                                       $463.50                                                                        '
        Revolving Line Of Credit                                               $5,000    Available Revolving Line Of Credil                                             $4,536

        Payment Information
        New Balance                                                         $463.50      Send Payments To:
        Minimum Payment                                                                  PO Box 77053, Minneapolis MN, 55480-7753
                                                                             $55.00
           (Includes Past Due Amount of $25.00)                                                                          .
        Payment Due Date                                                07/22/2021
            Late Payment Warning: If we do not receive your Minimum Payment by 07/22/2021, you may have to pay a late fee up to $37.
            Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
            bal nce. For e_xample:                  _
                  If you make no additional charges using            You will pay off the New Balance shown on                      And you will end up paying an
                     this card and each month you pay ...                     this statement in about ...                                estimated total of ...
                        Only the minimum payment                                     19 month(s)                                                 $497
                you would like information about credit counseling services, refer to
               www.justice.gov/usUlist-credit-counseling-agencies-approved-pursuant-ll-usc-111 or call 1-866-484-6322.

        Important Information

                                              PAST DUE, PLEASE CALL 800-988-8019, VISIT WELLSFARGO.COM OR WF.COM ON
                                               MOBILE DEVICES FOR PAYMENT OPTIONS. THIS IS AN ATTEMPT TO COLLECT A
                                               DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

               NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-988-8019 to share your
                  language preference. When you call, we will inform you about the language services that are available for delinquency communications.
        Go Far Rewards Summary
        Rewards balance as of:                                                          O5/31 /2021                          $47.24


                                                  The rewards balance is for Rewards ID 60017294587.
           This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
                                  earn and redeem your rewards, visit GoFarRewards.wf.com or call 1-877-517-1358.
        -Transactions                  - - - -------                   - -- --------- -----                          -         ----              - ----- --
        Trans      Post        Reference Number                  Description                                                                        Credits           Charges

        Purchases, Balance Transfers & Other Charges
        05/31      05/31    24071054RVAM85GFP   EXTRA SPACE 0727 BROOKLYN NY                                                                                           186.59
                   TOTAL PURCHASES, BALANCE TRANSFERS & OTHER CHARGES FOR THIS PERIOD                                                                                 S186.59

        Fees Charged

        06/22      06/22                                         LATE FEE                                                                                                25.00
                   TOTAL FEES CHARGED FOR THIS PERIOD                                                                                                                   S25.00




                                        NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                  Continued         y
        5596          YRG          1     '/    19   2106]]   0       D PAGE 1 of 4          1 0   3531   8000     C065   O1DP5596


        Detach and mail with check payable to Wells Fargo. For faster processing, include your account number on your check.
                                                                                                                Account Number                   .                       3157
                                                                                                                New Balance                                           $463.50
                                                                                                                Minimum Payment                                        $55.00
                                                                                                                   (Includes Past Due Amount of $25.00)
                                                                                                                Payment Due Dale                                    07/22/2021




                                                                                     1571                   Amount
                                                                                                           Enclosed



               BAHRAM MASKANIAN
               205390
               6102 5TH AVE                                                                                       WELLS FARGO CARD SERVICES               . YKG
               BROOKLYN NY 11220-4610                                                                             PO BOX 77053                              510
                                                                                                                  MINNEAPOLIS MN 55480-7753




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       -3
               Check here and see reverse for address and/or phone number correction.
Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 14 of 22 PageID #: 54

         WELLS FARGO CASH WISE VISA SIGNATURE® CARD

                                            Account Number                                  Ending in 3157
         v!SA
          Signature                         Statement Billing Period                        06/28/2021 to 07/28/2021
                                            Page 1 of 4
         Balance Summary
           Previous Balance                                                                 24-Hour Customer Service:                      1-866-229-6633
                                                                             $463.50
         - Payments                                                                         We accept all relay calls, including 711
                                                                               $0.00
                                                                                            Outside the US Call Collect:                   1-925-825-7600
         - Other Credits                                                       $0.00
                                                                                            Wells Fargo Online~:                           wellsfargo.com
         + Cash Advances                                                        $0.00
         + Purchases, Balance Transfers &                                       $0.00
           Other Charges
                                                                                            Send General Inquiries To:
         + Fees Charged                                                       $37.00        PO Box 10347, Des Moines IA, 50306-0347
         + Interest Charged                                                    S0.00
         = New Balance                                                       $500.50
         Revolving Line Of Credit                                               $650        Available Revolving Line Of Credit                                           $149

         Payment Information                                                                                                        -
        New Balance                                                          $500.50        Send Payments To:
        Minimum Payment                                                                     PO Box 77053, Minneapolis MN, 55480-7753
                                                                              $97.00
           (Includes Past Due Amount of $55.00)
        Payment Due Date                                                 08222021                                                                                         -
             Late Payment Warning: If we do not receive your Minimum Payment by 08/222021, you may have to pay a late fee up to $37.
             Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
             balance. For examole:
                  If you make no additional charges using             You will pay off the New Balance shown on                   And you will end up paying an
                     this card and each month you pay ...                      this statement in about ...                             estimated total of ...

                          Only the minimum payment                                      19 month(s)                           •                    $539
               11 you wouia nKe mrorma➢on aoour creaa counseeng services, rerer to
               www.justice.gov/ustllist-credit-counseling-agencies-approved-pursuant-ll-usc-111 or call 1-866-484-6322.

        Important Information                                                           ~

                                                PAST DUE, PLEASE CALL 800-988-8019, VISIT WELLSFARGO.COM OR WF.COM ON
                                                 MOBILE DEVICES FOR PAYMENT OPTIONS. THIS IS AN ATTEMPT TO COLLECT A
                                                 DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

               NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-988-801910 share your
                    language preference. When you call, we will inform you about the language services that are available for delinquency communications.

        Go Far Rewards Summary
        Rewards balance as of 06/30/2021 is 0


                                                              The rewards balance is for Rewards ID 600172945B7.
         This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
                                earn and redeem your rewards, visit GoFarRewards.wf.com or call 1-877-517-1358.

        Transactions
        Trans      Post -      Reference Number                   Description                                                                         Credits         Charges

        Fees Charged
        0722       07/22__                                        LATE FEE                                                                                              37.00
                   TOTAL FEES CHARGED FOR THIS PERIOD                                                                                                                  $37.00




                                       NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                     Continued      y
        5596            YKG       1        '/   19   210]26   0       D PAGE 1 of C          1 0 l5]1   8000    C065   OlUP5596

   I    Detach and mail with check payable to Wells Fargo. For faster processing, include your account number on your check.                                                        -_
                                       .                                                                       Account Number                                           3157
                                                                                                               New Balance                                            $500.50
                                                                                                               Minimum Payment                                         $97.00
                                                                                                                 (Includes Past Due Amount of $55.00)
                                                                                                               Payment Due Date                                   08/22/2021




                                                                                      31572                 Amount           "~"~~"~
                                                                                                           Enclosed                    f



               BAHRAM MASKANIAN
               205390
               6102 5TH AVE                                                                                      WELLS FARGO CARD SERVICES                      YKG
               BROOKLYN NY 11220-4610                                                                            PO BOX 77053                                   510
                                                                                                                 MINNEAPOLIS MN 55480-7753



       ~,~     Check here and see reverse for address and/or phone number correction.
Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 15 of 22 PageID #: 55

         WELLS FARGO CASH WISE VISA SIGNATURE® CARD                                                                                                                              ®

                                                 Account Number                                          Ending in 3157                                                                 •
         v,s `A
                                                 Statement Billing Period                                07/29/2021 to 08/27/2021
          Slgnature
                                                 Page 1 of 2
         Balance Summary
              Previous Balance                                                                           24-Hour Customer Service:                   1-866-229-6633
                                                                                        $500.50
         - Payments                                                                                      We accept all relay calls, including 711
                                                                                        $131.36
                                                                                                         Outside the US Call Collect:               1-925-825-7600
         - Other Credits                                                                   $0.00
                                                                                                         Wells Fargo Online°':                      wellsfargo.com
         + Cash Advances                                                                   $0.00
         + Purchases, Balance Transfers &                                                  $0.00
           Other Charges                                                                                 Send General Inquiries To:
         + Fees Charged                                                                    $0.00         PO Box 10347, Des Moines IA, 50306-0347
         + Interest Charged                                                                $0.00
         = New Balance                                                                 $369.14
         Revolving Line Of Credit                                                           $650         Available Revolving Line Of Credit                                          $280

         Payment Information
         New Balance                                                                   $369.14           Send Payments To:
                                                                                                         PO Box 77053, Minneapolis MN, 55480-7753
         Minimum Payment                                                                $25.00
         Payment Due Date                                                           09/22/2021
              Late Payment Warning: If we do not receive your Minimum Payment by 09/22/2021, you may have to pay a late fee up to $37.
              Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
           balance. For example:
                    If you make no additional charges using                     You will pay off the New Balance shown on                       And you will end up paying an
                       this card and each month you pay ...                              this statement in about ...                                 estimated total of ...

                I            Only the minimum payment                                                16 monlh(s)
                11 yUll nUulu IIRC IIIIUIIIIGIIUI l GUUIII I;ICUII {;UUIIJCIIIIy J'CI VII;CD, ItlICI W
                                                                                                                                                             $400

                www.justice.gov/ust/list-credit-counseling-agencies-approved-pursuant-ll-usc-111 orcalll-866-484-6322.

         -------~---            ~----_.~— ----------------                                          --------------------------------
         Go Far Rewards Summary
         Rewards balance as of 07/31/2021 is 0

                                                 The rewards balance is for Rewards ID 60017294587.
          This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
                                 earn and redeem your rewards, visit GoFarRewards.wf.com or call 1-877-517-1358.

         Transactions
         Trans       Post            Reterence Number                    Oescriptlon                                                                            Credits           Charges

         Payments
         08/16       08/16    74147187526RZBE21     PAYMENT THANK YOU                                                                                  _         131.36
                     TOTAL PAYMENTS FOR THIS PERIOD                                                                                                             $131.36

         Fees Charged
                     TOTAL FEES CHARGED FOR THIS PERIOD                                                                                                                              $0.00

         Interest Charged
                                                                         INTEREST CHARGE ON PURCHASES                                                                                 0.00
                                                                         INTEREST CHARGE ON CASH ADVANCES                                                                             0.00
                     TOTAL INTEREST CHARGED FOR THIS PERIOD                                                                                                                          S0.00


                                                                                      2021 Totals Year- to- Date
                                                                                                                                                            $62.00
                                        TOTAL FEES CHARGED IN 2021
                                        TOTAL INTEREST CHARGED IN 2021                                                                                       $0.00




                                              NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT                                                        Continued         y
        5596             W.             1       '!   19   21082) 0               PAGE 1 of 2               1 0 ]531   8000    C065   O1DP5596

   I     Detach and mail with check payable to Wells Fargo. For faster processing, include your accounl number on your check.                                                                    _
                                                                                                                             Account Number                                         3157
                                                                                                                             New Balance                                          $369.14
                                                                                                                             Minimum Payment                                       $25.00
                                                                                                                             Payment Due Date                                   09/22/2021




                                                                                                  31570                   Amount°W
                                                                                                                        Enclosed        $


                BAHRAM MASKANIAN
                205390
                6102 5TH AVE                                                                                                   WELLS FARGO CARD SERVICES                YKG
                BROOKLYN NY 11220-4610                                                                                         PO BOX 77053                           . 510
                                                                                                                               MINNEAPOLIS MN 55480-7753



       ~i~~     Check here and see reverse for address and/or phone number correction.
    Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 16 of 22 PageID #: 56
                        WELLS FARGO CARD SERVICGS
                        P.O. BaX 10347
                                                                             Received on August 19, 2021
       ~ •   *          DES MC?INES, IA 50306


    August I2. 2021

    SAI3RAtv! MASKANIAN
                                                             AD0003536
    205390
                                                              K1D8
    6102 STf3 AVE
    I3ROOKLYN NY 11220-4610




    Subject: Ilnmediate paylnent needed for your credit card account
©
    Current Balance: $500.50
    Default Amount Due: $55.04                      _._ ..__.. . . . ......                 __...

    L}ear Bahram Maskanian:

    VJ"e want to let you know you are in default of your Customer Agreement and Disclosure Statement
    that governs your Wells Fargo credit card accoutlt endinc3 in 3157. It is important you pay the default
    amount due $55.00 today.

    "1'o iraake your payment

    Send a rrrinimuln payxlient of $55.00 today in one of the following ways.
        * C?nline: www.wellsfargo.com, or on your rnobile device at www.wf.com
        * By pharle:l-S00-988-$OZ9, at the times listed below
        * By mail,: Wells Eargo Card Services, PO Box 5I.I.93, Los R.ngeles, CA 90051.-5493

    If you"ve already inade other arranclements to pay your credit card, thatlk you.

    We're here to help

    We're here to work with you. If you have guestions or want to discuss repayment options, please call us
    at 1-800-958-8OI9. We are available to assist you:
                                                                                                     ... ...._._   .-....~~ ~.   ...__.
        * Monday through Thursday from 7:00 a.m. to 1C3:00 p.m. Central Time
        * Friday from 7:00 aan. to 7:00 p.m. Central Time
        * Saturday and 5und.ay frotn 8:00 a.rn. to 4:30 p.m. Central Time


                        NOTICE: SEE REVER5E STDE FOR IMPORTANT INFORMATIC7N




          FOOPSJOB 40315265.2 5596 3531 8900 1000 CC 1 07 0047 20210812 FC 0495 P6 1 OF 1           AOOD03536
    Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 17 of 22 PageID #: 57
                         WELLS FARGO BANK, N.A.
                         P.O. B03{ 14579
       y ti    M         DES MOINES, iA 50306-LL3679


    July 29, 2021

    BAHRAM MASKANIAN
    205390                                                              A00D07197

    6102 6TH AVE                                                        KlD7
    BkOOKLYN NY 11220-4610


      gilil1I11iilIi{!ollIlo1l,l,li!]rltitillli~'I~~~'~I~"~lIIILIlI1~




    Subject: Change to your credit card account ending in 3157
P


~   Dear Bahraln Maskanian:
                                                                            ..... _. _ .....

    We are writing to let you know that we lowered the~credit limit orl your credit card account froln
    $5,000 to $650, and to provide information to help you understand our decision.

    What you need to know

    While we are unable to share our full decision-making process; our decision to lower your credit limit
    is based on a combination of factors we've observed over tirne, including the following;

              *     Recent delirlquency on Wells Fargo credit card
                   Credi.t aceounts in good standing have not been open long enough (we'look for a history of
                   how you manage credit)
                   No checking or savings accounts with wells fargo (we look at your wells fargo accounts as
                   an additional factor)

    Vdhat you need to do

    Please monitor your account to ensure you stay within the new credit limit.

    About our credi.t decisi.on and your consurner report

    Ouir decision was based in wliole or in part on in.fnrmation %n a coilsizmer repoi-t (often called a credit
    report) frorsi the consumer reporting agency below. This agency was not involved in our decision and
    cannot provide you with specific reasons about our. decision.



                                    Please see the following page for important information.




           FDDPSJDB 40185855.3 5596 3531 8000 1000 CC 1 07 8566 ZOZ1D7Z9 FC CO24 PG I DF 2     ADOOD7197
     Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 18 of 22 PageID #: 58
                                 WELLS FARGO CAP.D SERVICES
                                 P.C. i3OX 10347
        1~       ~!              DES MOTNES, IA. 50306


     July 28, 2021


     BAt-TRAM MASKANCAN
     20S290                                                                       aooaosZzz
     6102 5'I'Ii AVE                                                               K307
     BROOKLI'N Nl' 1122t7-461C}


       IEi~i~Ele~~lli~ sfiai ► iIlefiiiult or,i ►i*ltirlI 1 ttirifsEill11(ilflf




     Subject: Immediate payment needed for your credi.t card account
"0   C.urrent Balance: $500.50
     Amount
        ._... Due:     _                                              _ ..        _. ...._._..
     Amount Past Due: $55.00

     Dear Ba.hram Maskanian:

     We want to remind you that your• credit card account ending in 3157 is past due, and is at risk of being
     closecl. Please pay the arnount pa.st due right avaay, or call us at the number belotrr to discuss addition.al
     payment options that r11ay be available to you.

     To make your payment

     Send a minimum payment of $55.00 today in one of the, following wa.ys.

          * C3nline: mvur.wellsfargo.com, or on your rnobile device at www.wf.com
          * I3y phone:1-800-988-8010 at the tirrles listed below
          * By znail: Wells Fa.rgo Card 5ervices, PO Box 51.193, Los Angeles, CA 90051-5493

     If you've already macle other ar. rangenients to pay your credit card, thank you..

     If your account is closed

          * You will permanently lose charging privileges.
          * Y'ouvsi11 sti.11 be tesporisil5ie fGr pay-iazg thb nutsta"nelint balazice due an yaur ciediE c:ard:.._
          '` IF you are enrolled in the Wells Fargo Rewards@3 prograrn, all rewards balances for this account
          zvill be forfeiteci.
          * If you have autcalnatic bill p:ly or overdraft proteetion set up for this account, these serviees trill
          no loriger be available.
          * VJeIIs Fargo reports account statuses to the niajor credit reportirig agencies including
          delinquency and involuntary cloaures.


                                 N(JTICE SEE REVERSE SIDE FOR IMPCQRTANT INF©RMA.TION




            FCfOPSJUB 4U17Z71Z.:. 5596 3531 8000 1000 CC 1 07 8495 ZU21.07Z8 FC 0301 PG 1 OF i   c,DaaosZ2z
    Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 19 of 22 PageID #: 59
                         •     WELLS FARGO CARD SERVICES

       • ~      ~
                               P.O. Box 10347
                               DEs MotNEs, tA 50306
                                                                                             Received on July 23, 2021

    July 12, 2021


    13AHRAM MASKANIAN
                                                                                a0oo a5649
    205390
    6102 S'1'H AVVE                                                              K10r
    BROi7KLYN NY 11220-4610


      rirrrrlir~rlrrnlrrrlrlllr~~r~ r ~~ArrisriEi r rl,ii lisrr rr=iriri i hl




    Subject: Your credit card account is past due.
~
~
    A.mount Past Due: $25.00


    Dear Eahraln Maskanian:

    We want to relnind you that your credit card account ending in 3157 remains past due. Please send the
    past-due amount right away to bri.ng your account current.

    To malce your paymerlt

    Send a minimum payrnent of $25.00 today in one of the following ways.
        • Dnli.ne: www.wellsfargo.corn, or on your rnobile device at www.wf.com
        • By plione:1-800-9$8-8019, at the times listed below
        • By mail: Wells Fargo Card Services, P© Box 51193, Los Angeles, CA 90051-5493

    If you've already made other arranyements to pay your credit eard, thank you.

    We're here to help

    We're here to work with you. If you have questions or want to discuss repayment options, please call us
    at 1-800-988-8019. We are available to assist you:
         * Monday through Thursday fron17:00 a.rrl. to 10:00 p.m. Central Time
         a Friday from 7:00 a.ln. to 7:00 p.m. Central Tilne                                   _.
         * Saturday and Sunday from Fa':00 a.m. to 4:30 p.rn. Central Time

    FoX custorners with hearing or speech disab'tlities, we accept telecommunications relay service calls.

    Tharik you,

    Wells Fargo Card Services

    'Fhe law of solne states require ua to inforzn you that this coinrnunication is an attelnpt to collect a debt
    and that any information obtained will be used for that purpose.




           FOOPSJOS GOOl4110.2 5596 3531 8000 1000 CC 1 07 6359 20210712 FC 0491 PO 1 OF 1         AXXXXXXXX
Case 1:21-cv-05361-KAM-RML Document 1-2 Filed 09/27/21 Page 20 of 22 PageID #: 60

                                                                                            Wells Fargo Bank, N.A.
                                                                                            Executive Oflice
                                                                                            PO,Box 14544
                                                                                            lles Moines, IA 503o6
                                                                                            Fax i-877-243-3589



  June 9, 2021


  Bahram Maskanian
  6102 5th Ave 205390
  Brooklyn, iNl' 1122o-46io




  Subject: Response to your account inquiiy
  Application number ending in: 3157
  Wells Fargo case number:                  8358

  Dear Bahrain Maskanian:.

  We are responding to your recent account inquiry dated May 31, 2021. Our records show that your inquiry for a
  billing staternent calculation correction was addressed on May 24, 2021, May 20, 2021, and May 15, 2021. We
  have reviewed your account activity siiice our prior responses, and our decision remains the same.

 What you need to do

  If you did not receive our response dated May 24, 2021, or you have new information related to your inquiry,
  please contact us. We will provide further assistance to you at that time.

  Contact information

 If you have questions, you can call nie at 515-461-4135, Monday through Friday from 7:3o a.m. to 4:0o p.m.
 Central Time.

  For customers with hearing or speech disabilities, we accept telecommunications relay service calls.

 Thanlc you.

 Sincerely,

 A,Avon K


 Aaron R
 Executive Office Case Specialist
 Rnterprise Complaints Management Office




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